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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                             TYLER DIVISION


  CELLTRACE LLC,                                    §
                                                    §
                         Plaintiff,                 §
                                                    §
  v.                                                §
                                                    §
  AT&T INC.; AT&T MOBILITY LLC F/K/A                §    CIVIL ACTION NO. 6:09-CV-294-LED
  CINGULAR WIRELESS LLC; T-MOBILE                   §
  USA, INC.; ALLTEL CORPORATION;                    §          JURY TRIAL DEMANDED
  ALLTEL COMMUNICATIONS, LLC; ETEX                  §
  TELEPHONE COOPERATIVE INC.; ETEX                  §
  COMMUNICATIONS, L.P.; METROPCS                    §
  COMMUNICATIONS, INC.; METROPCS                    §
  WIRELESS, INC.; SPRINT NEXTEL                     §
  CORPORATION; SPRINT SPECTRUM L.P.;                §
  SPRINT COMMUNICATIONS COMPANY                     §
  L.P.; NEXTEL OPERATIONS, INC.;                    §
  NEXTEL WEST CORP.; NEXTEL OF                      §
  CALIFORNIA, INC.; NEXTEL                          §
  COMMUNICATIONS OF THE MID-                        §
  ATLANTIC, INC.; NEXTEL OF NEW                     §
  YORK, INC.; NEXTEL SOUTH CORP.;                   §
  NEXTEL OF TEXAS, INC.; UNITED                     §
  STATES CELLULAR CORPORATION; and                  §
  CELLCO PARTNERSHIP D/B/A VERIZON                  §
  WIRELESS,                                         §
                                                    §
                        Defendants.                 §


          DEFENDANTS AT&T INC. AND AT&T MOBILITY LLC’S NOTICE OF
                   COMPLIANCE WITH P.R. 3-3 AND P.R 3-4

         Defendants AT&T Inc. and AT&T Mobility LLC hereby notify the Court that they

  served on counsel of record for plaintiff the disclosures required by P.R. 3-3 and P.R. 3-4 on

  March 12, 2010 pursuant to the Court’s December 14, 2009 Docket Control Order (D.I. 46).
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  Dated: March 12, 2010                            Respectfully submitted,

                                                   BAKER BOTTS L.L.P.


                                                   By: /s/ Christopher W. Kennerly
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                                                 ATTORNEYS FOR DEFENDANTS AT&T
                                                 INC AND AT&T MOBILITY LLC



                                  CERTIFICATE OF SERVICE

                 I certify that on March 12, 2010, all counsel of record were served with a copy of
  this document via electronic mail. I also certify that counsel for Plaintiff was served via
  Certified Mail Return Receipt Requested.

                                               /s/ Christopher W. Kennerly
                                               Christopher W. Kennerly




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